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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

 ALTAIR LOGIX LLC,

                        Plaintiff,                     C.A. NO.
        v.
                                                       JURY TRIAL DEMANDED
 MOUSER ELECTRONICS, INC.,
                                                       PATENT CASE
                        Defendant.

               ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT

       Plaintiff Altair Logix LLC files this Original Complaint for Patent Infringement against

Mouser Electronics, Inc., and would respectfully show the Court as follows:

                                       I. THE PARTIES

       1.      Plaintiff Altair Logix LLC (“Altair Logix” or “Plaintiff”) is a Texas limited liability

company with its principal place of business at 15922 Eldorado Pkwy., Suite 500 #1513, Frisco,

TX 75035.

       2.      On information and belief, Defendant Mouser Electronics, Inc. (“Defendant”) is a

corporation organized and existing under the laws of Delaware.

                              II. JURISDICTION AND VENUE

       3.      This action arises under the patent laws of the United States, Title 35 of the United

States Code. This Court has subject matter jurisdiction of such action under 28 U.S.C. §§ 1331

and 1338(a).

       4.      On information and belief, Defendant is subject to this Court’s specific and general

personal jurisdiction, pursuant to due process and the Delaware Long-Arm Statute, due at least to

its business in this forum, including at least a portion of the infringements alleged herein.




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Furthermore, Defendant is subject to this Court’s specific and general personal jurisdiction because

Defendant is a Delaware corporation.

        5.      Without limitation, on information and belief, within this state, Defendant has used

the patented inventions thereby committing, and continuing to commit, acts of patent infringement

alleged herein. In addition, on information and belief, Defendant has derived revenues from its

infringing acts occurring within Delaware. Further, on information and belief, Defendant is

subject to the Court’s general jurisdiction, including from regularly doing or soliciting business,

engaging in other persistent courses of conduct, and deriving substantial revenue from goods and

services provided to persons or entities in Delaware. Further, on information and belief, Defendant

is subject to the Court’s personal jurisdiction at least due to its sale of products and/or services

within Delaware. Defendant has committed such purposeful acts and/or transactions in Delaware

such that it reasonably should know and expect that it could be haled into this Court as a

consequence of such activity.

        6.      Venue is proper in this district under 28 U.S.C. § 1400(b). On information and

belief, Defendant is incorporated in Delaware. Under the patent laws, because Defendant is

incorporated in Delaware, Delaware is the only district in which it resides. On information and

belief, from and within this District Defendant has committed at least a portion of the infringements

at issue in this case.

        7.      For these reasons, personal jurisdiction exists and venue is proper in this Court

under 28 U.S.C. § 1400(b).

                             III. COUNT I
       (PATENT INFRINGEMENT OF UNITED STATES PATENT NO. 6,289,434)

        8.      Plaintiff incorporates the above paragraphs herein by reference.




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        9.     On September 11, 2001, United States Patent No. 6,289,434 (“the ‘434 Patent”)

was duly and legally issued by the United States Patent and Trademark Office. The application

leading to the ‘434 patent was filed on February 27, 1998. (Ex. A at cover).

        10.    The ‘434 Patent is titled “Apparatus and Method of Implementing Systems on

Silicon Using Dynamic-Adaptive Run-Time Reconfigurable Circuits for Processing Multiple,

Independent Data and Control Streams of Varying Rates.” A true and correct copy of the ‘434

Patent is attached hereto as Exhibit A and incorporated herein by reference.

        11.    Plaintiff is the assignee of all right, title and interest in the ‘434 patent, including

all rights to enforce and prosecute actions for infringement and to collect damages for all relevant

times against infringers of the ‘434 Patent. Accordingly, Plaintiff possesses the exclusive right

and standing to prosecute the present action for infringement of the ‘434 Patent by Defendant.

        12.    The invention in the ‘434 Patent relates to the field of runtime reconfigurable

dynamic-adaptive digital circuits which can implement a myriad of digital processing functions

related to systems control, digital signal processing, communications, image processing, speech

and voice recognition or synthesis, three-dimensional graphics rendering, and video processing.

(Ex. A at col. 1:32-38). The object of the invention is to provide a new method and apparatus for

implementing systems on silicon or other chip material which will enable the user a means for

achieving the performance of fixed-function implementations at a lower cost. (Id. at col. 2:64 –

col. 3:1).

        13.    The most common method of implementing various functions on an integrated

circuit is by specifically designing the function or functions to be performed by placing on silicon

an interconnected group of digital circuits in a non-modifiable manner (hard-wired or fixed

function implementation). (Id. at col. 1:42-47). These circuits are designed to provide the fastest



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possible operation of the circuit in the least amount of silicon area. (Id. at col. 1:47-49). In general,

these circuits are made up of an interconnection of various amounts of random-access memory

and logic circuits. (Id. at col. 1:49-51). Complex systems on silicon are broken up into separate

blocks and each block is designed separately to only perform the function that it was intended to

do. (Id. at col. 1:51-54). Each block has to be individually tested and validated, and then the

whole system has to be tested to make sure that the constituent parts work together. (Id. at col.

1:54-56). This process is becoming increasingly complex as we move into future generations of

single-chip system implementations. (Id. at col. 1:57-59). Systems implemented in this way

generally tend to be the highest performing systems since each block in the system has been

individually tuned to provide the expected level of performance. (Id. at col. 1:59-62). This method

of implementation may be the smallest (cheapest in terms of silicon area) method when compared

to three other distinct ways of implementing such systems. (Id. at col. 1:62-65). Each of the other

three have their problems and generally do not tend to be the most cost-effective solution. (Id. at

col. 1:65-67).

        14.      The first way is implemented in software using a microprocessor and associated

computing system, which can be used to functionally implement any system. (Id. at col. 2:1-2).

However, such systems would not be able to deliver real-time performance in a cost-effective

manner for the class of applications that was described above. (Id. at col. 2:3-5). Their use is best

for modeling the subsequent hard-wired/fixed-function system before considerable design effort

is put into the system design. (Id. at col. 2:5-8).

        15.      The second way of implementing such systems is by using an ordinary digital signal

processor (DSP). (Id. at col. 2:9-10). This class of computing machines is useful for real-time

processing of certain speech, audio, video and image processing problems and in certain control



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functions. (Id. at col. 2:10-13). However, they are not cost-effective when it comes to performing

certain real time tasks which do not have a high degree of parallelism in them or tasks that require

multiple parallel threads of operation such as three-dimensional graphics. (Id. at col. 2:13-17).

       16.     The third way of implementing such systems is by using field programmable gate

arrays (FPGA). (Id. at col. 2:18-19). These devices are made up of a two-dimensional array of

fine grained logic and storage elements which can be connected together in the field by

downloading a configuration stream which essentially routes signals between these elements. (Id.

at col. 2:19-23). This routing of the data is performed by pass-transistor logic. (Id. at col. 2:24-

25). FPGAs are by far the most flexible of the three methods mentioned. (Id. at col. 2:25-26).

The problem with trying to implement complex real-time systems with FPGAs is that although

there is a greater flexibility for optimizing the silicon usage in such devices, the designer has to

trade it off for increase in cost and decrease in performance. (Id. at col. 2:26-30). The performance

may (in some cases) be increased considerably at a significant cost, but still would not match the

performance of hard-wired fixed function devices. (Id. at col. 2:30-33).

       17.     These three ways do not reduce the cost or increase the performance over fixed-

function systems. (Id. at col. 2:35-37). In terms of performance, fixed-function systems still

outperform the three ways for the same cost. (Id. at col. 2:37-39).

       18.     The three systems can theoretically reduce cost by removing redundancy from the

system. (Id. at col. 2:40-41). Redundancy is removed by re-using computational blocks and

memory. (Id. at col. 2:41-42). The only problem is that these systems themselves are increasingly

complex, and therefore, their computational density when compared with fixed-function devices

is very high. (Id. at col. 2:42-45).




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       19.     Most systems on silicon are built up of complex blocks of functions that have

varying data bandwidth and computational requirements. (Id. at col. 2:46-48). As data and control

information moves through the system, the processing bandwidth varies enormously. (Id. at col.

2:48-50). Regardless of the fact that the bandwidth varies, fixed-function systems have logic

blocks that exhibit a “temporal redundancy” that can be exploited to drastically reduce the cost of

the system. (Id. at col. 2:50-53). This is true, because in fixed function implementations all

possible functional requirements of the necessary data processing must be implemented on the

silicon regardless of the final application of the device or the nature of the data to be processed.

(Id. at col. 2:53-57). Therefore, if a fixed function device must adaptively process data, then it

must commit silicon resources to process all possible flavors of the data. (Id. at col. 2:58-60).

Furthermore, state-variable storage in all fixed function systems are implemented using area

inefficient storage elements such as latches and flip-flops. (Id. at col. 2:60-63).

       20.     The inventors therefore sought to provide a new apparatus for implementing

systems on a chip that will enable the user to achieve performance of fixed-function

implementation at a lower cost. (Id. at col. 2:64 – col. 3:1). The lower cost is achieved by

removing redundancy from the system. (Id. at col. 3:1-2). The redundancy is removed by re-using

groups of computational and storage elements in different configurations. (Id. at col. 3:2-4). The

cost is further reduced by employing only static or dynamic ram as a means for holding the state

of the system. (Id. at col. 3:4-6). This invention provides a way for effectively adapting the

configuration of the circuit to varying input data and processing requirements. (Id. at col. 3:6-8).

All of this reconfiguration can take place dynamically in run-time without any degradation of

performance over fixed-function implementations. (Id. at col. 3:8-11).




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        21.     The present invention is therefore an apparatus for adaptively dynamically

reconfiguring groups of computations and storage elements in run-time to process multiple

separate streams of data and control at varying rates. (Id. at col. 3:14-18). The ‘434 patent refers

to the aggregate of the dynamically reconfigurable computational and storage elements as a “media

processing unit.”

       22.     The claimed apparatus has addressable memory for storing data and a plurality of

instructions that can be provided through a plurality of inputs/outputs that is couple to the

input/output of a plurality of media processing units. (Id. at col. 55:21-30). The media processing

unit comprises a multiplier, an arithmetic unit, and arithmetic logic unit and a bit manipulation

unit. (Id. at col. 55:31 – col. 56:20). The ‘434 patent provides examples to explain each of the

parts of the media processing unit. (Id. at col. 16:27-61 (multiplier and adder); id. at col. 16:62 –

col. 17:1-9 (arithmetic logic unit); and id. at col. 17:10 – col. 17:43 (bit manipulation unit)). Each

of the parts has a data input coupled to the media processing unit input/output, an instruction input

coupled to the mediate processing unit input/output, and a data output coupled to the mediate

processing unit input/output. (Id. at col. 55:31 – col. 56:20). Furthermore, the arithmetic logic

unit must be capable of operating concurrently with either the multiplier and arithmetic unit. (Id.

at col. 56:6-12). And the bit manipulation unit must be capable of operating concurrently with the

arithmetic logic unit and at least either the multiplier or the arithmetic unit. (Id. at col. 56:13-20).

Each of the plurality of media processing units must be capable of performing an operating

simultaneously with the performance of other operations by other media processing units. (Id. at

col. 56:21-24). An operation comprises the media processing unit receiving an instruction and

data from memory, processing the data responsive to the instruction to produce a result, and

providing the result to the media processor input/output. (Id. at col. 56:26-33).



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        23.     An exemplary block diagram of the claimed systems is shown in Figure 3 of the

‘434 patent:




(Id. at Fig. 3). Exemplary architecture and coding for the apparatus is disclosed in the ‘599 patent.

(E.g., id. at col. 16:15 – col. 52:20; Figs. 9 – 106).

        24.     As further demonstrated by the prosecution history of the ‘434 patent, the claimed

invention in the ‘434 patent was unconventional. Claim 1 of the ‘434 patent was an originally




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filed claim that issued without any amendment. There was no rejection in the prosecution history

contending that claim 1 was anticipated by any prior art.

        25.     A key element behind the invention is one of reconfigurability and reusability. (Id.

at col. 13:26-27). Each apparatus is therefore made up of very high-speed core elements that on a

pipelined basis can be configured to form a more complex function. (Id. at col. 13:27-30). This

leads to a lower gate count, thereby giving a smaller die size and ultimately a lower cost. (Id. at

col. 13:30-31). Since the apparatuses are virtually identical to each other, writing software

becomes very easy. (Id. at col. 13:32-33). The RISC-like nature of each of the media processing

units also allows for a consistent hardware platform for simple operating system and driver

development. (Id. at col. 13:33-36). Any one of the media processing units can take on a

supervisory role and act as a central controller if necessary. (Id. at col. 13:36-37). This can be

very useful in set top applications where a controlling CPU may not be necessary, further reducing

system cost. (Id. at col. 13:37-40). The claimed apparatus is therefore an unconventional way of

implementing processors that can achieve the performance of fixed-function implementations at a

lower cost. (Id. at col. 2:64 – col. 3:11).

        26.     Direct Infringement. Upon information and belief, Defendant has been directly

infringing claim of the ‘434 patent in Delaware, and elsewhere in the United States, by making,

using, selling, and/or offering for sale an apparatus for processing data for media processing that

satisfies each and every limitation of claim 1, including without limitation the Critical Link

MitySOM-5CSX             Processor        Card       (“Accused       Instrumentality”).       (E.g.,

https://www.mouser.com/new/criticallink/critical-link-MityARM-5CSX/).

        27.     The Accused Instrumentality comprises an addressable memory (e.g., memory

system of the Accused Instrumentality) for storing the data, and a plurality of instructions, and



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having a plurality of input/outputs, each said input/output for providing and receiving at least one

selected from the data and the instructions. As shown below, the Accused Instrumentality

comprises a memory system which is coupled to multicore ARM processors through multiple

internal inputs/outputs. The memory system provides instructions and stored data for processing

and receives processed data.




(E.g., https://www.mouser.com/new/criticallink/critical-link-MityARM-5CSX/).




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(E.g., id.).




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(E.g., id.).

        28.    The Accused Instrumentality comprises a plurality of media processing units (e.g.,

ARM cortex A9 Dual Core processors), each media processing unit having an input/output coupled

to at least one of the addressable memory input/outputs.        As shown below, the Accused

Instrumentality comprises ARM cortex A9 Dual Core processors, each processor comprises a

NEON media coprocessor and acts as a media processing unit. The ARM processors are coupled

to the memory system. The processors receive instructions and data from the memory system by

multiple internal inputs and provides processed data to the memory system by multiple internal

outputs.




(e.g., https://www.mouser.com/new/criticallink/critical-link-MityARM-5CSX/).




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(E.g., id.).




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(E.g., id.).




(E.g.,

http://infocenter.arm.com/help/topic/com.arm.doc.ddi0388f/DDI0388F_cortex_a9_r2p2_trm.pdf

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(e.g., http://www.add.ece.ufl.edu/4924/docs/arm/ARM%20NEON%20Development.pdf).


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       29.     The Accused Instrumentality comprises media processors with each processor

comprising a multiplier (e.g., an Integer MUL or FP MUL) having a data input coupled to the

media processing unit input/output, an instruction input coupled to the media processing unit

input/output, and a data output coupled to the media processing unit input/output. As shown

below, the Accused Instrumentality comprises multiple ARM cortex-A9 Dual core processor, each

processor comprises a NEON media coprocessor and acts as a media processing unit. NEON media

coprocessor comprises a multiplier which is coupled to the inputs/outputs of the processor. Upon

information and belief, the multiplier comprises a data input, an instruction input, and a data output

coupled to the input/output of the processor.




(e.g., https://www.mouser.com/new/criticallink/critical-link-MityARM-5CSX/).

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(e.g.,

http://infocenter.arm.com/help/topic/com.arm.doc.ddi0388f/DDI0388F_cortex_a9_r2p2_trm.pdf

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(E.g., http://www.add.ece.ufl.edu/4924/docs/arm/ARM%20NEON%20Development.pdf).

       30.     The Accused Instrumentality comprises media processors with each processor

comprising an arithmetic unit (e.g., an FP ADD) having a data input coupled to the media

processing unit input/output, an instruction input coupled to the media processing unit

input/output, and a data output coupled to the media processing unit input/output. As shown

below, the Accused Instrumentality comprises multiple ARM cortex-A9 Dual core processor, each

processor comprises a NEON media coprocessor and acts as a media processing unit. NEON media

coprocessor comprises an arithmetic unit which is coupled to the inputs/outputs of the processor.

Upon information and belief, the arithmetic unit comprises a data input, an instruction input, and

a data output coupled to the input/output of the processor.




(E.g., http://www.add.ece.ufl.edu/4924/docs/arm/ARM%20NEON%20Development.pdf).

       31.     The Accused Instrumentality comprises media processors with each processor

comprising an arithmetic logic unit (e.g., an ALU) having a data input coupled to the media

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processing unit input/output, an instruction input coupled to the media processing unit

input/output, and a data output coupled to the media processing unit input/output, capable of

operating concurrently with at least one selected from the multiplier (e.g., an Integer MUL or FP

MUL) and arithmetic unit (e.g., a FP ADD). As shown below, the Accused Instrumentality

comprises multiple ARM cortex-A9 Dual core processor, each processor comprises a NEON

media coprocessor and acts as a media processing unit. NEON media coprocessor comprises an

arithmetic logical unit which is coupled to the inputs/outputs of the processor. Upon information

and belief, the arithmetic logical unit comprises a data input, an instruction input, and a data output

coupled to the input/output of the processor. Upon information and belief, the arithmetic logical

unit (e.g., the Integer ALU) is capable of operating concurrently with at least one selected from

the multiplier (e.g., the Integer MUL or FP MUL) and arithmetic unit (e.g., the FP ADD).




(E.g., http://www.add.ece.ufl.edu/4924/docs/arm/ARM%20NEON%20Development.pdf).

       32.     The Accused Instrumentality comprises media processors with each processor

comprising a bit manipulation unit (e.g., an Integer Shift unit) having a data input coupled to the


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media processing unit input/output, an instruction input coupled to the media processing unit

input/output, and a data output coupled to the media processing unit input/output, capable of

operating concurrently with the arithmetic logic unit (e.g., an Integer ALU) and at least one

selected from the multiplier (e.g., an Integer MUL or FP MUL) and arithmetic unit (e.g., a FP

ADD). As shown below, the Accused Instrumentality comprises multiple ARM cortex-A9 Dual

core processors, each processor comprising a NEON media coprocessor that acts as a media

processing unit.     The NEON media coprocessor comprises an integer shift unit (i.e., bit

manipulation unit) which is coupled to the inputs/outputs of the processor. Upon information and

belief, the integer shift unit (i.e., bit manipulation unit) comprises a data input, an instruction input,

and a data output coupled to the input/output of the processor. Upon information and belief, the

integer shift unit (i.e., bit manipulation unit) is capable of operating concurrently with the

arithmetic logic unit (e.g., the Integer ALU) and at least one selected from the multiplier (e.g., the

Integer MUL or FP MUL) and arithmetic unit (e.g., the FP ADD).




(E.g., http://www.add.ece.ufl.edu/4924/docs/arm/ARM%20NEON%20Development.pdf).


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       33.    The Accused Instrumentality comprises a plurality of media processors (e.g., ARM

cortex-A9 Dual core processors) for performing at least one operation, simultaneously with the

performance of other operations by other media processing units (e.g., other ARM cortex-A9 Dual

core processors on the same chip).




(e.g., https://www.mouser.com/new/criticallink/critical-link-MityARM-5CSX/).




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(e.g., id.).




(E.g.,

http://infocenter.arm.com/help/topic/com.arm.doc.ddi0388f/DDI0388F_cortex_a9_r2p2_trm.pdf

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(E.g., http://www.add.ece.ufl.edu/4924/docs/arm/ARM%20NEON%20Development.pdf).

       34.     The Accused Instrumentality comprises a plurality of media processors (e.g., ARM

cortex-A9 Dual core processors), each processor receiving at the media processor input/output an

instruction and data from the memory, and processing the data responsive to the instruction

received to produce at least one result. As shown below, each ARM cortex-A9 Dual core media

processor comprises a NEON media coprocessor which receives instructions and data from

memory and processes the data responsive to the instruction received in order to produce a result.




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(E.g., https://www.mouser.com/new/criticallink/critical-link-MityARM-5CSX/).




(E.g., http://www.add.ece.ufl.edu/4924/docs/arm/ARM%20NEON%20Development.pdf).

       35.     The Accused Instrumentality comprises a plurality of media processors (e.g., ARM

cortex-A9 Dual core processors), each processor providing at least one of the at least one result at

the media processor input/output. (Id.).




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(E.g., https://www.mouser.com/new/criticallink/critical-link-MityARM-5CSX/).




(E.g., id.).

        36.    Plaintiff has been damaged as a result of Defendant’s infringing conduct.

Defendant is thus liable to Plaintiff for damages in an amount that adequately compensates

Plaintiff for such Defendant’s infringement of the ‘434 patent, i.e., in an amount that by law cannot

be less than would constitute a reasonable royalty for the use of the patented technology, together

with interest and costs as fixed by this Court under 35 U.S.C. § 284.

        37.    On information and belief, Defendant has had at least constructive notice of the

‘434 patent by operation of law, and there are no marking requirements that have not been

complied with.

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                                      IV. JURY DEMAND

       Plaintiff, under Rule 38 of the Federal Rules of Civil Procedure, requests a trial by jury of

any issues so triable by right.

                                  V. PRAYER FOR RELIEF

       WHEREFORE, Plaintiff respectfully requests that the Court find in its favor and against

Defendant, and that the Court grant Plaintiff the following relief:

       a.      Judgment that one or more claims of United States Patent No. 6,289,434 have been
               infringed, either literally and/or under the doctrine of equivalents, by Defendant;

       b.      Judgment that Defendant account for and pay to Plaintiff all damages to and costs
               incurred by Plaintiff because of Defendant’s infringing activities and other conduct
               complained of herein, and an accounting of all infringements and damages not
               presented at trial;

       c.      That Plaintiff be granted pre-judgment and post-judgment interest on the damages
               caused by Defendant’s infringing activities and other conduct complained of
               herein; and

       d.      That Plaintiff be granted such other and further relief as the Court may deem just
               and proper under the circumstances.


Dated: March 28, 2019                             DEVLIN LAW FIRM LLC

                                                  /s/ Timothy Devlin
OF COUNSEL:                                       Timothy Devlin (No. 4241)
                                                  1306 N. Broom Street, 1st Floor
David R. Bennett                                  Wilmington, DE 19806
DIRECTION IP LAW                                  Phone: (302) 449-9010
P.O. Box 14184                                    tdevlin@devlinlawfirm.com
Chicago, IL 60614-0184
(312) 291-1667                                    Attorneys for Plaintiff Altair Logix LLC
dbennett@directionip.com




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